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                                                                 Shellpoint Mortgage Servicing
                                                            9
                                                                                                  UNITED STATES DISTRICT COURT
                                                            10
                                                                                                          DISTRICT OF NEVADA
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                                                            11
                      LAS VEGAS, NEVADA 89134




                                                            12   SFR INVESTMENTS POOL 1, LLC,                         Case No.: 2:22-cv-00192-JAD-BNW
AKERMAN LLP




                                                            13                             Plaintiff,
                                                                                                                      JOINT STATUS REPORT REGARDING
                                                            14   vs.                                                  REMOVAL

                                                            15   NEWREZ         LLC    dba  SHELLPOINT
                                                                 MORTGAGE SERVICING; DOES I through X,
                                                            16   inclusive; and ROE BUSINESS ENTITIES I
                                                                 through X, inclusive,
                                                            17
                                                                                           Defendants.
                                                            18
                                                                 NEWREZ    LLC    dba                    SHELLPOINT
                                                            19   MORTGAGE SERVICING,
                                                            20                             Counterclaimant,
                                                            21   vs.
                                                            22   SFR INVESTMENTS POOL 1, LLC; DOES I
                                                                 through  X,   inclusive;     and     ROE
                                                            23   CORPORATIONS I through X, inclusive,
                                                            24                             Counterdefendants.
                                                            25

                                                            26                SFR Investments Pool 1, LLC and NewRez LLC d/b/a Shellpoint Mortgage Servicing, by

                                                            27   and through undersigned counsel, submit the following joint status report in response to this court's

                                                            28   February 1, 2022, minute order.

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                                                            1
                                                                              1.     Set forth the status of this action, including a list of any pending motions and/or
                                                            2                        other matters which require the attention of this court.

                                                            3             On February 1, 2022, Shellpoint removed this matter to federal court. ECF No. 1. The next

                                                            4    day Shellpoint filed its certificate of interested parties. ECF No. 2. Shellpoint filed a status report

                                                            5    on February 3, 2022, advising the court of the preliminary injunction motion that was filed in state

                                                            6    court prior to the removal of this action to this court. ECF No. 4. SFR filed an emergency motion for

                                                            7    temporary restraining order and preliminary injunction on February 8, 2022. ECF Nos. 7 and 8.

                                                            8    Shellpoint served SFR with a copy of the minutes of the court, ECF No. 3, by hand-delivering the

                                                            9    same to the SFR's counsel on February 11, 2022. Ex. A. On February 15, 2022, this court entered

                                                            10   an order granting SFR's motion for temporary restraining order. ECF No. 9, and the next day SFR
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                 posted a $1,000 bond, ECF No. 10. Shellpoint timely filed its answer, affirmative defenses, and
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                                                            11
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                                                            12   counterclaims on February 16, 2022.            ECF No. 11. Shellpoint filed its removal statement on
AKERMAN LLP




                                                            13   February 17, 2022. ECF No. 12. Shellpoint responsded to SFR's motion for preliminary injunction

                                                            14   on February 22, 2022. ECF No. 13. At the hearing on February 25, 2022, this court entered an order

                                                            15   denying SFR's motion for preliminary injunction, and ruled that the temporary restraining order

                                                            16   would expire on its own terms and not be renewed. ECF No. 15.

                                                            17                2.     Include a statement by counsel of action required to be taken by this court.

                                                            18                The undersigned are unaware of any actions required at this time.

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                                                            1                 3.     Include as attachments copies of any pending motions, responses and replies
                                                                                     thereto and/or any other matters requiring the court's attention not previously
                                                            2                        attached to the notice of removal.
                                                            3                 The undersigned are unaware of any motions, pleadings, or other matters that may affect this

                                                            4    action that were not already attached to the notice of removal or subsequently filed with the court.

                                                            5                 DATED this 3rd day of March, 2022.

                                                            6     AKERMAN LLP                                            HANKS LAW GROUP
                                                            7     /s/ Paige L. Magaster                                  /s/ Chantel M. Schimming
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                                                            12    Attorneys for NewRez LLC d/b/a
AKERMAN LLP




                                                                  Shellpoint Mortgage Servicing
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                                                            1                                   INDEX OF EXHIBITS

                                                            2    Exhibit A    Receipt of Copy

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AKERMAN LLP




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                 EXHIBIT A




                 Receipt of Copy




                 EXHIBIT A
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